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                       THE UNITED STATES BANKRUPTCY COURT

                            SOUTHERN DISTRICT OF FLORIDA
                                                                                                              II
                                                                                                              ;
                                                                                                              I


                                                                     CASE NO: 18-15891-LMI                    I
                                                                                                              I!
                                                                      CHAP. 7                                 i

IN RE: MAURICE SYMONETTE
                                           I                                                          ·1r1
                                                                                                    i. ~~,,
                                                                                                     __:.
                                                                                                              I
                                                                                                              I
                                                                                                              I
                                                                                                              If;
         ANSWER TO BANKRUPTCY COURT AS TO WHY I SHOULD NOT BE

              SUPENDED FROM FILING BANKRUPTCY FOR FIVE YEARS                                                  I
                                                                                                              !
                                                                                                              I
      COMES Now Debtor Maurice Symonette with answer to Judges request of why I                               !!
should not be suspended from filing bankruptcy for five years is the reason why I filed                       !

bankruptcy in 1994 in the case 95-13516-RAM is because Gerald Richman called me a
                                                                                                              !
nigger, and a Bankruptcy was filed again concerning bankruptcy with the Townhouse in
Quayside also concerning Kurt Marin they called us little black boys as was said by Aurora
Loan Services attorney Richard Baron in case no: 12-23756-LMI




           You told me that filing bankruptcy was not a right but that it was a priviledge and
Not a right (see exb. A) But the Constitution says it's a right, but it says in the Constitution
Art. 1, Sec. 8 Clause 4 of the united states Constitution Authorizes congress to enact
"Uniform Laws on the subject of Bankrupies throughout the United States" it provides that
congress shall enact bankruptcy laws to allow Americans to exercise their bankruptcy relief is
your constitutional right, specifically guaranteed by the U.S. Constitution, but you Judge says
that bankruptcy is ;not A Constitutional right it is a priviledge and statutory right by congress
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called a bankruptcy Reform act of 1978 codified in title 11 of the united states code called the
bankruptcy code The cases that you have named Judge 98-15366RAM concerning a house we
paid the creditor off, case number 08-23786LMI. We got evicted in violation of the
bankruptcy 99-16706RAM that problem was solved by us paying them off , 12-23756LMI
they evicted without any judges order County state or Federal next we file bankruptcy and at
court we told her with wittneses of the racist statement Richard Baron Made same: I don't
care about this bankruptcy me and the banks are going to get you Black boys out and then
they evicted us in violation of bankruptcy again on July 4th 2012 and destroyed our property.
Case 15-28143-JKO they evicted us but then let us go back in the house and then for a whole
year did nothing after the Judge dismissed our bankruptcy case 16-20959-EPK The Judge
reinstated the Bankruptcy but they evicted us illegally because we did an objection to claim
when we showed that we had a CFLA Audit on the house showing that they no longer own
the note they evicted us quickly in violation of the Bankruptcy and the Judge did nothing          !
                                                                                                   t
                                                                                                   t
about it we filed a lawsuit to sue them for damages in federal court and now in this case I'm
in front of you again Judge Isicouf a college of judge Robert A. Martin who saw that in 1996       r
case 95-13516-RAM that Chief Judge crystal who lived across the street from my house on            If
Palm Island who stood out in the middle of the street with Gerld Richmond as he screamed           i
over and over again we want these NIGGERS out of this Neighborhood and then when we got            I
the building at 560 you Judge mentioned my problem on Palm Island and you helped Judge             I
Robert Martin with his Racism against me knowing that Gerald Richmond called us                    II
NIGGERS in 1996 and I told you personally with Witnesses that Richard Barron called us
little Black boys and Physically evicted us while you where Judge and they were doing an           t
opened violation of Bankruptcy case 12-23756-LMI and then at the house at 3320 case 15-            r
28143-JKO while the city of North Miami Code enforcement and Zoning department was
outside with the Realtor who stated NIGGERS bring down the property value In the                   I
                                                                                                   I
Neighborhhood and they violated the Bankrupcy and evicted us saying we didn't have city
                                                                                                   i
                                                                                                   I
water even though we had legal well water as did several people in the neighborhoon they
arrested us with plastic handcuffs after coming to the door of the house with AR 15s and a
big wooden door ram just to put us out of the house for not having water this is systematic        r
                                                                                                   i
                                                                                                   l
racist by this Bankruptcy court led by you Mrs. Isicoff as the Chief Judge now each time I file    J
                                                                                                   l
bankruptcy I had a good reason I was not in abuse of the Bankruptcy law its just that the


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     bankruptcy court did not help me exercise my right or violate the Bankruptcy offenders who
     violate bankruptcy law example case 08-23786-LMI under you Judge the sheriffs evicted us
     while I was in bankruptcy and you did not sanction them or stop them and in case 12-23756-
     LMI they violated the bankruptcy physically evicted us without any state county or Federal
     Judges order and you found them in violation but decided not to sanction them illegally
     without any Judges order with the witnesses and proof that Richard Barron said hes going to
     get us little Black boys out yet you found them not guilty (Zach 11 :5 they would kill us and
     hold themselves not guilty) this is systematic Racism so now you say it's a priviledge not a
     right for me to be in bankruptcy against the constitution so your saying I have no rights mind
     you I would have gone threw with the Bankruptcy if they had not violated my bankruptcy and
     evicted me with no penalties or repuctions so I have not abused the bankruptcy law I tried to
     use the law to keep the law with no help from you your are a racist and I demand that you
     recuse yourself or tum these cases around especially the last case which is 18-15891-LMI
     stop these people from calling us little Black boys and NIGGERS (see gods2.com 11 & 12)
     with no right to stay in their White CANAANITE neighborhoods CANAANITES are totally
     different from our brother the White Gentiles Thank God For President Trump. And now
     again you let them evict us .




                                      CERTIFICATE OF SERVICE



I hereby certify that a true and correct copy of the forgoing was served via U.S. Mail to Jeffery S.
Fraser ESQ. Florida Bar No. 0085894/ ALBERTELLI LAW ATTORNEY FOR Creditor P.O. BOX 23028
TAMPA, FL 33623 PH. (813) 221-4743




                                                               ~P.O. Box 222692
                                                              Hollywood Fl. 222692
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                                                                       Page 1
 1               UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF FLORIDA
 2                       MIAMI DIVISION
 3   In Re:
 4   MAURICE SYMONETTE,                         Case No. 18-15891-LMI
                                                Chapter 13
 5         Debtor.

 6   ------------------------------------/
 7
 8
 9
10                        ECF # 20, 42, 51
11                         August 8, 2018
12
13
14               The above-entitled cause came on for
15   hearing before the HONORABLE LAUREL M. ISICOFF, one
16   of the Judges of the UNITED STATES BANKRUPTCY COURT,
17   in and for the SOUTHERN DISTRICT OF FLORIDA, at 301
18   N. Miami Avenue, Miami, Miami-Dade County, Florida,
19   on Wednesday, August 8, 2018, commencing at or about
20   3:02 p.m., and the following proceedings were had:
21
22
23             Transcribed from a digital recording by:
                    Helayne Wills, Court Reporter
24
25
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                                                                                         Page2
 1   APPEARANCES:
 2           MAURICE SYMONETTE
             Pro Se Debtor
 3
 4           ALBERTELLI LAW, by
             JEFFREY S . FRASER, ESQ. ,
 5           on behalf of Creditor HSBC Bank
 6
             ALSO PRESENT:
 7           ECRO - Electronic Court Reporting Opera
 8
 9
10                                           EXHIBITS
11   A . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
12   B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28
13   D . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31
14   M . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30
15    N . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
16    0 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
17    p . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
18   R . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   17
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1    sense.
2                THE COURT:       Okay.      Mr. Symonette - -
3                MR. SYMONETTE:          If that's what you want to
4    do, ma'am, I appreciate you and I love you anyway.
5    It's horrible what you're doing, horrible.
 6               THE COURT:       No, Mr. Symonette.              What you
7    have done is an abuse of the bankruptcy system.
 8                MR. SYMONETTE:         I don't abuse.           I keep the
 9   law, ma'am.      I patterned my life after it to make
10   sure I do it the right way, because if I did it the
11   wrong way I would be in jail.               I did it the right
12   way.
13                She tells me she's going to evict me, I go
14   down and do a bankruptcy, and if it's wrong, then
15   you could have said, "Okay, relief from stay."
16                They just run over what you do.                   You're in
17   charge.    They've taken your abilities away from you.
18                THE COURT:       May I speak?
19                MR. SYMONETTE:         Yes, ma'am, you may speak.
20                THE COURT:       Thank you.         Okay.
21   Mr. Symonette, I want you to listen to me very
22   carefully.      Bankruptcy is a privilege.                 It's not a
23   right.    And the purpose of bankruptcy is for a fresh
24   start.
25                You -- I don't know how you get into these
